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                                                         THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR20-0107-JCC
10                              Plaintiff,                     ORDER
11          v.

12   HUMBERTO LOPEZ RODRIGUEZ and
     CARLOS CARRILLO LOPEZ,
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                                Defendants.
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            This matter comes before the Court on Defendants’ unopposed motion to continue the
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     trial date and the pretrial motions deadline (Dkt. No. 75). Trial is currently scheduled for October
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     5, 2020, and the pretrial motions deadline is September 10, 2020.
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            Defendants argue that proceeding with trial on October 5, 2020 will likely be impossible
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     due to the COVID-19 pandemic. Defendants also argue the pandemic has limited the ability of
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     defense counsel to adequately review discovery and communicate with their clients, requiring
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     additional time for effective trial preparation. (See id.) Defendants ask the Court to strike the
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     current trial date and pretrial motions deadline.
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            Having thoroughly considered the motion, the relevant record, and the Court’s General
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     Orders addressing measures to reduce the spread and health risks from COVID-19, incorporated
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     herein by reference, the Court hereby FINDS:
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 1      1. In light of the recommendations made by the Centers for Disease Control and Prevention

 2          and Public Health for Seattle and King County regarding social distancing measures

 3          required to stop the spread of COVID-19, as well as the lack of personal protective

 4          equipment necessary to ensure the health and safety of all participants, it is not possible

 5          to proceed with a jury trial on October 5, 2020. See W.D. Wash. Gen. Orders Nos. 02-20,

 6          13-20; 18 U.S.C. § 3161(h)(7)(B)(i).

 7      2. The COVID-19 pandemic has also rendered the Court unable to obtain an adequate

 8          spectrum of jurors that would represent a fair cross section of the community, which

 9          would likely make proceeding on the current case schedule in this matter impossible or

10          would result in a miscarriage of justice. See W.D. Wash. Gen. Orders Nos. 02-20, 13-20;

11          18 U.S.C. § 3161(h)(7)(B)(i).

12      3. The COVID-19 pandemic has affected defense counsel’s ability to adequately review

13          discovery and has prevented defense counsel, despite due diligence, from fully and

14          adequately preparing for trial. Therefore, the failure to grant this continuance would deny

15          counsel for Defendants reasonable time necessary for effective preparation. See 18

16          U.S.C. § 3161(h)(7)(B)(iv).

17      4. As a result, the Court finds the ends of justice served by granting a continuance outweigh

18          the best interests of the public and Defendants in a speedy trial. See 18 U.S.C.
19          § 3161(h)(7)(A).

20          For the foregoing reasons, the Court GRANTS the motion to continue the trial date and

21   pretrial deadlines (Dkt. No. 75) and ORDERS:

22       1. The October 5, 2020 trial date is VACATED.

23       2. The September 10, 2020 pretrial motions deadline is VACATED.

24       3. A telephonic status conference is SET for November 10, 2020 at 11:00 a.m. to determine

25          a trial date and pretrial motions deadline.

26       4. The time period between the date of this order until and including November 10, 2020 is


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 1          an excludable time period under the Speedy Trial Act pursuant to 18 U.S.C.

 2          § 3161(h)(7)(A), 3161(h)(7)(B)(i), and 3161(h)(7)(B)(iv).

 3         DATED this 18th day of September 2020.




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                                                       John C. Coughenour
 7                                                     UNITED STATES DISTRICT JUDGE
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     ORDER
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